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              Non-exhaustive list of U.S. missions that have suspended or partially suspended renunciation services




              Status of loss-                                                Comments
   Country    of-citizenship
                 services




                                From the website:

                                The U.S. Embassy in Kabul suspended operations on August 31, 2021. While the U.S. government
                                has withdrawn its personnel from Kabul, we will continue to assist U.S. citizens and their families in
                                Afghanistan from Doha, Qatar. We will also continue our efforts to help Lawful Permanent
                                Residents, as well as the many Afghans who have stood with us over the years, who are seeking to
Afghanistan   Suspended         leave Afghanistan.

                                Our commitment to the people of Afghanistan is enduring. We will continue to press for an orderly
                                transition of power to an inclusive government with broad support and that respects the rights of
                                all of its citizens, including women and minorities. We will use every diplomatic, economic,
                                political, and assistance tool at our disposal to uphold the basic rights of all Afghans; support
                                continued humanitarian access to the country; and ensure the Taliban honors its commitments.

                                Response to e-mail inquiry:

                                Dear Fabien Lehagre,
                                Thank you for your contacting us. Due to the COVID-19 crisis, renunciation services have been
                                suspended. Unfortunately, we do not have an estimate time of resume operations.
Argentina     Suspended         Updates will be posted only through official Embassy channels. Please visit our website and follow
                                us on Facebook (@ACSBuenosAires) and Twitter (@USEmbArgentina).
                                Sincerely,
                                American Citizen Services Unit-EA
                                U.S. Embassy Buenos Aires - Argentina
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                            From website:



                            The Consular Section of the U. S. Embassy in Yerevan provides a variety of services for U.S. citizens.
                            There are two units in the Consular Section: the U.S. Citizen Services Section and the Visa Section.
Armenia    Suspended
                            Due to the current situation related to COVID-19, American Citizen Services is providing emergency
                            services only beginning Monday, March 23, 2020. Until further notice, all U.S. citizens requiring
                            assistance should schedule their appointments via email. Please send an email to
                            ACSYerevan@state.gov and include “appointment request” in the email subject line. In the email,
                            please include your first and last name as it appears on your passport, your contact information,
                            and the service requested.

                            Response to e-mail inquiry:

Bahamas    Suspended        Hello and good afternoon,
                            Thank you for your email but unfortunately we are not providing services for loss of nationality at
                            this time. We do not have a fixed date for resumption of this service.

                            Response to e-mail inquiry:

                            Good Afternoon:
                            Thank you for your query.
                            The United States Embassy in Barbados resumed limited routine American Citizen Services on April
                            21, 2021.
Barbados   Suspended        Passport Services, Consular Reports of Birth Abroad as well as Notarial Services are being provided
                            - by appointment only .
                            However, at this time, there are no appointments scheduled for Renunciation Services.
                            Kind regards,
                            ACS Unit / da
                            US Embassy Bridgetown, Barbados
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                           Response to e-mail inquiry

                           Currently, our U.S. citizen service are limited and include only U.S. passports renewals and
                           documenting new born U.S. citizens. We also offer certain urgent notarial services.
Belarus   Suspended        Unfortunately, we do not offer renunciation service at this time. Please follow our website for
                           updates.
                           Sincerely,
                           Consular Section
                           U.S. Embassy Minsk

                           Response to e-mail inquiry:

                           Greetings from Consular section,
                           Thank you for your email and information. The United States Embassy in Cotonou, Benin, is closed
                           for all but emergency services, including notarial services.
                           Unfortunately, we are not currently accepting appointments for renunciation of citizenship . We
                           advise that you continue to monitor our website for an appointment
Benin     Suspended        Should you require any further information, please do not hesitate to contact us.
                           *NOTE: For faster service, you can now email directly to the American Citizen Services section at,
                           acscotonou@state.gov.
                           Respectfully,
                           American Citizen Services
                           U. S. Embassy
                           Cotonou, Benin

                           From website:
Bermuda   Suspended        Please note: The U.S. Consulate is not currently accepting appointments for Loss of Nationality
                           applications. We will update this website when services resume.
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                              Response to e-mail inquiry:



                              Mr. Lehagre,
                              We do not have appointments open at this time. Due to Covid 19 and staffing restrictions, we are
                              currently unable to provide regular consular services, including passports, reports of birth abroad,
Burundi      Suspended
                              and notary services. We will open regular appointments as soon as possible and recommend that
                              you continue to monitor our website for changes to this guidance.
                              Regards,
                              American Citizen services
                              Consular Office
                              U.S. Embassy Bujumbura

                              Response to e-mail inquiry:



                              Hi Fabien,
                              Thanks for your inquiry. Unfortunately, at this time, due to COVID-19 restrictions, the U.S.
Cambodia     Suspended
                              Embassy in Phnom Penh is unable to facilitate citizenship renunciations. Thank you for your
                              understanding.
                              Best regards,
                              American Citizen Services (SC)
                              U.S. Embassy Phnom Penh

                              Response to e-mail inquiry:



                              Hello,
Costa Rica   Suspended
                              At this time, our office continues assisting with emergency services and limited appointments due
                              to Covid-19 pandemic health and safety protocols. We will have no appointments available for
                              renunciation of U.S. citizenship until we resume normal operations. You may check the website for
                              any updates in the next few months. https://cr.usembassy.gov/u-s-citizen-services/
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                                  Sincerely,
                                  ACS San Jose




                                  Response to e-mail inquiry:



Cyprus           Suspended        We cannot currently offer renunciations as our routine ACS services are still suspended.
                                  Sincerely,
                                  ACS Nicosia
                                  aa

                                  From website:


Czech Republic   Suspended        **IMPORTANT INFORMATION**
                                  Due to limited staffing and resources during the COVID-19 outbreak, the U.S. Embassy in Prague is
                                  unable to accept appointments for Loss of Nationality applications. We cannot provide a
                                  timeframe but will update this website when services can resume.

                                  From website:

                                  Important Update: June 16, 2020 – The U.S. Embassy is closed for loss of nationality services due to
Denmark          Suspended        COVID-19. We do not have a definitive date for the resumption of loss of nationality appointments.
                                  Check this page often for the most up-to-date information. We are not scheduling loss of
                                  nationality appointments at this time.
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                              Response to e-mail inquiry:

Equatorial                    Good afternoon,
             Suspended        Please be advised that we are not currently accepting appointments for this act. You should
Guinea
                              review the information about what you need to do to renounce your citizenship. Please follow us
                              on Facebook and Twitter for a time we will be open for this service.

                              Response to e-mail inquiry:

                              Hello,
Estonia      Suspended        Thank you for writing to us but unfortunately it is not possible to have renunciation done at the
                              Embassy in Tallinn at the moment.
                              Consular Section
                              U.S.Embassy Tallinn

                              Response to e-mail inquiry:
Eswatini     Suspended        At the moment, we are fully booked. Have you reached out to embassies and consulates in your
                              general area?

                              Response to e-mail inquiry:

                              Renunciations
Finland      Suspended        We are not scheduling renunciation appointments.
                              We do not have an estimated date for the resumption of this service.
                              Best, US consulate.

                              From website:
France       Suspended        Due to COVID-19, renunciation services are suspended until further notice. We apologize for the
                              inconvenience.

Georgia      Suspended        From website:
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                            Note: Renunciation of citizenship appointments are not currently available. We will resume
                            services as soon as possible but are unable to provide a specific date. Please continue to check this
                            website for updates.

                            From website:

                            Due to limited staffing and resources during to the COVID-19 outbreak, the U.S. Consulate General
Germany   Suspended         in Frankfurt, Germany is unable to accept appointments for Loss of Nationality applications. We
                            cannot provide a timeframe for when this service will resume, but will update this website when
                            services can resume.

                            Good morning,
                            Thank you for your email. At the moment, we are only able to offer this service to Ghanaian
                            citizens and legal residents.
          Partially
Ghana                       Sincerely,
          suspended
                            American Citizen Services
                            Consular Section
                            U.S. Embassy Accra

                            Dear Mr. Lehagre:
                            Thank you for your email.
Greece    Suspended         Currently, the U.S. Embassy in Athens is not accepting appointments for Loss of Nationality
                            Services. Unfortunately, we cannot provide a timeframe for when we will resume this service but
                            will update this website as information becomes available.
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                            Good morning.
                            Thank you for your inquiry.
                            We at the American Citizen Services Unit, U.S Embassy Georgetown, Guyana are not yet accepting
                            appointments for renunciations, due to COVID-19 restrictions and mandatory reductions to our
                            staffing pattern.
                            Please know we regularly evaluate our appointment offerings and the services we provide.
Guyana     Suspended        Further, when we do resume appointments for renunciations, these services will be available for
                            nationals of our jurisdiction (Guyana, Suriname, French Guyana, and Cuba) and will not be open for
                            third country nationals.
                            Sincerely
                            American Citizen Services Unit
                            U.S. Embassy, Georgetown

                            Response to e-mail inquiry:



                            Dear Mr. Lehagre,
                            Due to the COVID-19 we are experiencing a high volume of requests for our services, and
                            subsequently have limited availability for appointments, until further notice. Please note that a
                            request for renunciation of US citizenship does not fall under the emergency category.
                            Persons who wish to renounce U.S. citizenship should be aware of the fact that renunciation of
                            U.S. citizenship may have no effect on their U.S. tax or military service obligations (contact the
Honduras   Suspended
                            Internal Revenue Service or U.S. Selective Service for more information). In addition, the act of
                            renouncing U.S. citizenship does not allow persons to avoid possible prosecution for crimes which
                            they may have committed or may commit in the future which violate United States law, or escape
                            the repayment of financial obligations, including child support payments, previously incurred in the
                            United States or incurred as United States citizens abroad.
                            Regards,
                            American Citizen Services | Servicios a ciudadanos de EE. UU.
                            United States Embassy | Embajada de los Estados Unidos
                            Tegucigalpa, Honduras, C.A.
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                           Response to e-mail inquiry:

                           Dear Mr. Lehagre,
                           Thank you for your inquiry.
                           We are planning to open up some appointments for renunciations in the near future for residents
Hungary   Suspended        of Hungary. We promise to let you know as soon as appointments are available.
                           Thank you for your patience.
                           Kind Regards,Section for an appointment, at +36-1-475-4164




Iceland   Suspended

Iraq      Suspended

                           From website:

Ireland   Suspended        The U.S. Embassy in Dublin is currently unable to accept requests for Loss of Nationality
                           appointments. Please periodically check this website for further updates on when the Embassy
                           will be able to accept requests.

                           From website:

                           Currently, renunciation services have been suspended and we are unable to schedule any
Israel    Suspended        appointments for this service. For further updates as the situation changes, please check our
                           website regularly. We will resume loss of nationality services at a later date, but we cannot predict
                           when this will occur.
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                           Response to e-mail inquiry:

                           Good day,
                           Unfortunately we presently are unable to schedule renunciation appointments due to the current
Jamaica   Suspended        high numbers of COVID cases in Jamaica. We are unable to assist at this time. When we resume
                           services, we will only be able to assist those residing in Cayman Islands and Jamaica.
                           Regards
                           American Citizen Services Unit
                           U.S. Embassy, Kingston

                           Response to e-mail inquiry:

                           Dear Customer,
                           Thank you for your inquiry.
          Partially        This is U.S. Embassy Tokyo's Passport Unit.
Japan
          Suspended        Appointments for loss of nationality (renunciation) are fully booked till the end of February.
                           To start with, please submit an online form from the link below.
                           https://japan2.usembassy.gov/e/acs/tacs-form-loss-citizenship.html
                           Other unit in charge will contact you soon.

                           Response to e-mail inquiry:

                           Good morning,
                           Due to COVID-19, the U.S. Embassy Nairobi Consular Section has temporarily restricted some
                           routine consular processing in accordance with Department of State worldwide regulations and
                           Government of Kenya guidelines. We are unable to schedule Renunciation of U.S. citizenship at
                           this time. We do not have any indication for when this service will resume.
Kenya     Suspended
                           U. S. Embassy Nairobi strongly recommends that U.S. Citizens and nationals enroll in STEP, the
                           Smart Traveler Enrollment Program, at https://step.state.gov/step/. STEP enrollees receive
                           important information from the Embassy about health conditions, safety alerts, and travel
                           updates. We will send out a message when we are able to proceed with routine consular
                           processing.
                           Regards,
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                           American Citizen Services
                           U.S Embassy Nairobi




                           Response to e-mail inquiry:

Kosovo    Suspended        Dear Mr. Lehagre-
                           We are not currently doing renunciation services. We hope to resume them by the end of the year.
                           Pristina ACS

                           Response to e-mail inquiry:
Latvia    Suspended        Thank you for your inquiry. The U.S. Embassy in Riga has not restarted renunciation appointment
                           scheduling. If/when restarted, we will schedule only those U.S. citizens, who are residents in Latvia.

                           Response to e-mail inquiry:

                           Fabien,
                           At this time due to resource constraints, US Embassy Monrovia will not be able to assist you at this
Liberia   Suspended        time on your request.
                           Thank you,
                           American Citizen Services (ACS) Unit/MM
                           U.S. Embassy Monrovia, Liberia
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                                Response to e-mail inquiry:

                                Please note: Two appointments at the Embassy are necessary if you wish to renounce your U.S.
Luxembourg     Suspended        citizenship at the U.S. Embassy in Luxembourg.

                                Currently, we have not resumed routine services, and are therefore unable to offer renunciation
                                interviews.

                                Response to e-mail inquiry:

                                Greetings,
Madagascar &                    Thank you for your email.
               Suspended
Comoros                         Unfortunately, we aren’t accepting renunciation appointments at the moment due to COVID. And
                                normally, the person should be resident in the Consular District to obtain an appointment for
                                renunciation. However, Madagascar borders are still closed.

                                Response to e-mail inquiry:

                                Dear Fabien,
                                Thank you for your email. We are not providing these services at the moment, it is unclear when
Malawi         Suspended        we will resume our routine consular services.
                                Regards,
                                Consular Section,
                                U.S. Embassy Lilongwe.

                                Response to e-mail inquiry:

                                Due to the entry restrictions in place, we are not able to offer appointments to U.S. citizens located
                                outside of Malaysia until they can share confirmation from Malaysian Immigration that they have
Malaysia       Suspended        received permission to enter Malaysia.
                                Please also note that routine Consular Services, including renunciation of U.S. citizenship, are
                                suspended due to the Movement Control Order currently in effect in Malaysia. You may monitor
                                the status of Consular Services on our COVID-19 page here: https://my.usembassy.gov/covid-19-
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                            information/
                            We hope this information is helpful to you.




                            Response to e-mail inquiry:

                            Dear Sir/Madam,
                            Please note that it's possible to renounce your citizenship at the Embassy, Colombo if you are a
Maldives   Suspended        resident in Sri Lanka. However there are no appointments issued currently due to the lockdown.
                            You can make an appointment online once the lockdown is lifted.
                            Thank you
                            American Citizen Services
                            U.S. Embassy 210 Galle Road Colombo 3

                            From website:
Malta      Suspended
                            Please note that at this time, Embassy Malta is not conducting renunciations/ loss of nationality.

Mexico     Suspended

                            From website:

                            The U.S. Embassy in Chisinau remains unable to resume renunciation services due to the local
Moldova    Suspended        COVID situation. We will resume routine services as soon as possible but are unable to provide a
                            specific date. If you reside in our consular district and you have any questions, please contact us at
                            ChisinauACS@state.gov .
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                               Response to e-mail inquiry:

                               Dear Mr. Lehagre,
                               Unfortunately, due to the deteriorating epidemiological situation in Montenegro and to prevent
Montenegro   Suspended         the spread of COVID-19, the U.S. Embassy does not process renunciation cases.
                               Best regards,
                               Consular Section
                               US Embassy Podgorica

                               Response to e-mail inquiry:

                               Dear Fabien Lehagre,
                               The US Embassy in Brussels is accepting renunciation applications for Belgian Resident only.
             Partially         Please check the website for more info and what documents you need to send by email to start the
Belgium                        process.
             suspended
                               Kind Regards,
                               ACS - Consular Section
                               Embassy of the United States of America
                               25, Boulevard du Régent – 1000 Brussels

                               Response to e-mail inquiry:

                               Good morning,
                               The U.S. Consulate General is currently open for limited services due to the COVID-19 pandemic.
             Partially         The Department of State has limited the services each Consular Unit can provide depending on the
Morocco                        current pandemic conditions in the host country. For the U.S. Consulate General in Casablanca, we
             suspended
                               are not yet able to conduct interviews for loss of citizenship for U.S. citizens not currently resident
                               in Morocco. We regret the inconvenience.
                               Regards,
                               ACS Casablanca
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                               Response to e-mail inquiry:

New Zealand   Suspended        Thank you Fabien for contacting us regarding your interest in relinquishing or renouncing your U.S.
                               citizenship. Due to current level settings for Auckland, our office remains closed, and we will not
                               be scheduling any renunciations appointment until we are Alert Level 1.

                               Response to e-mail inquiry:

                               Good morning Mr. Lehagre,
                               Thank you for contacting the American Citizen Services Unit.
Nicaragua     Suspended        Please note that the service is suspended due the pandemic. We are not planning to offer that
                               service anytime soon.




                               Response to e-mail inquiry:

North                          At this moment we are not accepting or processing renunciation requests.
              Suspended        Sincerely,
Macedonia
                               American Citizen Services Unit
                               U.S. Embassy Skopje, North Macedonia

                               Response to e-mail inquiry:

                               Dear Mr. Lehagre,
                               Due to the current COVID-19 situation we are closed for renunciation appointments until further
Norway        Suspended        notice. We currently have a long waiting list to obtain an appointment when we reopen. We do not
                               know at this point when we will be able to reopen.
                               When we reopen some time in the future, we will assist U.S. citizens residing in Norway. If you
                               reside outside of Norway, please contact the Embassy in your country of residence.
                               If you reside in Norway, please contact us for more information.
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                            Response to e-mail inquiry:

                            Hello Lehagre,
Palau      Suspended        Thank you for your email.
                            US Embassy Koror's consular services are temporarily suspended until further notice.
                            Regards,
                            Consular Section

                            Response to e-mail inquiry:

                            Good morning Mr. Lehagre,
Paraguay   Suspended        Thank you very much for your email. Due to the current sanitary conditions in Paraguay, we are
                            not currently scheduling appointments for renunciation of U.S. Citizenship. At the moment there is
                            still no approximate date in which we will resume renunciation services
                            Best regards,

                            Response to e-mail inquiry:
Portugal   Suspended        Dear Sir/Madam
                            Yes, however renunciation services are still suspended.

                            Response to e-mail inquiry:

                            Dear Mr. Lehagre,
Romania    Suspended        Thank you for your email. At this time we do not process citizenship renunciation requests.
                            Unfortunately, we do not have a timeframe when these type of services resume.
                            Sincerely,
                            American Citizen Services/AN
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                                Response to e-mail inquiry:

                                Good evening – sorry, but we are not processing renunciations.

                                U.S. Embassy Moscow
Russia         Suspended




                                Response to e-mail inquiry:

                                Good Morning,
                                If you need to provide to your bank the ITIN/Social security number, so that they do not close your
                                bank account, please write to the federal benefits unit at fbu.rome@ssa.gov
San Marino     Suspended        Regarding renouncing your US citizenship, unfortunately, we have temporarily suspended this
                                service, for an indefinite period of time. We will add you to our waitlist and will reach out to you.
                                Thank you for your patience and understanding.
                                Best,
                                American Citizens Services
                                U.S. Consulate General Florence

                                Response to e-mail inquiry:

                                Greetings,
                                Thank you for your inquiry. We are currently not processing renunciation applications, you may
                                contact us again after two months.
Saudi Arabia   Suspended        Regards,
                                ACS Team
                                American Citizen Services

                                Embassy of the United States | Riyadh, Saudi Arabia
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                                Response to e-mail inquiry:
Senegal        Suspended        Thank you for contacting the US Embassy in Dakar. At this time our services remain limited due to
                                the ongoing COVID 19 pandemic and we are not offering the service you request.

                                From website:

Singapore      Suspended        Due to current COVID-19 response measures, U.S. Embassy Singapore has temporarily suspended
                                loss-of-nationality services. For more information, or to begin the process of U.S. citizenship
                                renunciation or relinquishment, please email SingaporeCLN@state.gov.

                                Response to e-mail inquiry:

                                Dear sir:
                                We are sorry to hear. We are not currently offering this service, but if you are a resident of
Slovenia       Suspended        Slovenia we can put you on a list for when we do.
                                Sincerely,
                                Consular Section

                                U.S. Embassy, Ljubljana

                                Response to e-mail inquiry:

                                Good day,
                                Renunciations are currently suspended; we are offering limited services due to Covid-19. We do
South Africa   Suspended        not have a timeline yet on when we will resume this service, please email us in a month to check if
                                anything has changed.
                                Regards,

                                ACS Johannesburg - LC
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                                From website:

                                Please Note: Renunciation services at U.S. Embassy Stockholm are currently suspended until our
                                offices resume normal operations. To protect the health and safety of our employees and visitors,
                                the consular section at the U.S. Embassy in Stockholm is operating under limited staffing.

Sweden        Suspended         Please do not book a notary service appointment for renunciation of U.S. citizenship. We will not
                                be able to serve any renunciation applicants that schedule and attend a notary appointment in
                                pursuit of renunciation services.

                                We do not know when our office will resume conducting renunciation services. We recommend
                                that our customers enroll in the Smart Traveler Enrollment Program (STEP) at step.state.gov to
                                receive alerts and notifications from the U.S. Embassy, and check this webpage for future updates.

                                Response to e-mail inquiry:

                                Greetings,
                                Thank you for your documents. We hereby confirm that you are on the waiting list for an
                                appointment.
                                Please note that we have a waiting list of over 600 customers and are scheduling appointments in
              Effectively       the order in which we received the requests. At the moment we are scheduling customers who
Switzerland
              Suspended         contacted us in spring/summer 2020. It may yet be some time until we will be able to offer an
                                appointment to you.
                                We will make every effort to schedule you as soon as possible. Meanwhile we thank you for your
                                patience and understanding.
                                Best Regards,
                                Stephen

                                From website:

Togo          Suspended         Due to the COVID-19 Pandemic, the Consular Section has had to reduce staffing and services in
                                order to keep our applicants and staff safe. Embassy Togo’s renunciation services are suspended
                                until further notice. We apologize for the inconvenience.
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                              Response to e-mail inquiry:

                              Dear Fabien Lehagre,
                              Thank you for your email below.
                              Due to COVID-19 emergency staffing levels at Embassy Suva, we are unable to schedule an
                              appointment for your requested service. Please also note, that the Renunciation of U.S. citizenship
                              does not go into effect the day of the renunciation before a consular officer. The renunciation
                              must be approved by the Department in Washington D.C. which can take several months.
Tonga        Suspended        In the meantime, please review all the materials related to the ramifications of renouncing one’s
                              U.S. citizenship as informed on travel.state.gov.
                              Please provide the Embassy with the following information below:
                              Copy of your U.S. passport or birth certificate;
                              Current address/location;
                              Telephone number
                              The Embassy will inform you further once the above information is received.
                              Sincerely


                              Response to e-mail inquiry:

                              "Regrettably, the US Embassy Port of Spain is also unable to facilitate renunciation services at this
                              time.
                              In the interim, your request will be wait-listed and we will contact you when appointments have
Trinidad &                    resumed.
             Suspended        Thank you for your patience and understanding during these unprecedented times.
Tobago
                              With Thanks,
                              American Citizens Services
                              U.S. Embassy
                              15 Queen's Park West
                              Port-of-Spain"

                              From website:
Turkey       Suspended
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             Non-exhaustive list of U.S. missions that have suspended or partially suspended renunciation services


                              Due to health and safety concerns related to the COVID-19 global pandemic, the U.S. Embassy is
                              not able to accept appointments for Loss of Nationality applications. We cannot provide a time-
                              frame for when this service will resume, but will update this website when services resume.

                              Response to e-mail inquiry:

                              Hello, currently we do not provide this service.
Ukraine      Suspended        Kind regards,
                              American Citizen Services Unit
                              U.S. Embassy Kyiv, Ukraine

                              Response to e-mail inquiry:

                              Dear Sir or Madam,
                              Thank you for your email. Please contact the U.S. Embassy/Consulate nearest to you, or get in
Uzbekistan   Suspended        touch with us if you ever relocate to our consular district. Given the epidemiological situation, we
                              are unable to predict which consular services we will be able to offer in the future.
                              Thank you,
                              U.S. Citizen Services Unit
                              U.S. Embassy Tashkent

                              From website:

Venezuela    Suspended        Important Information: All consular services are suspended. For routine services such as U.S.
                              passports, Consular Reports of Birth Abroad, and notarial services, visit the U.S. Embassy in Bogota
                              (https://co.usembassy.gov/).

                              From website:

                              All Consular Services at Embassy Sanaa are suspended until further notice. Notice: the U.S.
Yemen        Suspended        Department of State has designated the U.S. Embassy in Riyadh, Kingdom of Saudi Arabia to
                              handle American Citizens Services cases emanating out of Yemen, as well as process visas for
                              Yemeni citizens.
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             Non-exhaustive list of U.S. missions that have suspended or partially suspended renunciation services


                              Response to e-mail inquiry:

                              Good Morning :
                              Unfortunately, our Embassy is still not processing renunciation. There is no indicated as to when
Belize       Suspended        we will be resuming these services. We urge you to reach out to the consular district closest to
                              you.
                              Sorry for any inconvenience caused.
                              Sincerely, K.C.G
                              U.S. Citizen Services • U.S. Embassy, Belize

                              Response to e-mail inquiry:

                              Good morning,
Cabo Verde   Suspended        Thank you for your e-mail. We inform you that US Embassy in Praia is not providing that service.
                              Kind regards,
                              U.S. Embassy Praia, Cabo Verde

                              Response to e-mail inquiry:

                              Good morning.
                              Thank you for your inquiry.
                              We at the American Citizen Services Unit, U.S Embassy Georgetown, Guyana are not yet accepting
                              appointments for renunciation of U.S Citizenship, due to COVID-19 restrictions and mandatory
                              reductions to our staffing pattern.
Haiti        Suspended        Please know we regularly evaluate our appointment offerings and the services we provide.
                              Further, when we do resume appointments, these services will be available for nationals of our
                              jurisdiction (Guyana, Suriname, French Guyana, and Cuba) and will not be open for third country
                              nationals.
                              Sincerely
                              American Citizen Services Unit
                              U.S. Embassy, Georgetown
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            Non-exhaustive list of U.S. missions that have suspended or partially suspended renunciation services


                             Response to e-mail inquiry:

Serbia      Suspended        Greetings,
                             Due to COVID-19 situation, we have not resumed Renunciation of Citizenship services.
                             Kind regards,

                             Response to e-mail inquiry:

                             Good afternoon,
Spain       Suspended        Currently, we are not providing renunciation services. When we resume normal activities, we will
                             announce it on our website, so please be sure to monitor our information.
                             Regards,
                             U.S. Embassy Madrid

                             From website:
Australia   Suspended        Routine services in Sydney and Melboure are currently suspended due to state government
                             lockdowns.
